               Case 21-09946                     Doc 11              Filed 09/08/21 Entered 09/08/21 16:46:18                    Desc Main
                                                                      Document     Page 1 of 18
 Fill in this information to identify the case:

 Debtor name         Technoco Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         21-09946
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Fifth Third                                              Checking                       9884                                       $500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Technoco Inc.                                                                 Case number (If known) 21-09946
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 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office desk and chairs                                                         $200.00                                             $200.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Laptop                                                                           $0.00                                             $200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                  $400.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Technoco Inc.                                                                Case number (If known) 21-09946
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        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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 Debtor          Technoco Inc.                                                                                       Case number (If known) 21-09946
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $400.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                   $900.00        + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                      $900.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name         Technoco Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         21-09946
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Technoco Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)           21-09946
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $11,000.00          $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Income tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           200 N. High St.                                              Contingent
           Columbus, OH 43215                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 5
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 Debtor       Technoco Inc.                                                                                   Case number (if known)          21-09946
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $7,157.00    $7,157.00
           State of Illinois Department of                           Check all that apply.
                                                                        Contingent
           P.O. Box 19447                                               Unliquidated
           Springfield, IL 62794                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Income tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $30,000.00
           3 Point Capital Group                                                       Contingent
           333 Pearsall Ave, Ste. 105                                                  Unliquidated
           Cedarhurst, NY 11516                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $1,000.00
           Active Screening                                                            Contingent
           14499 N. Dale Mabry Hwy, Ste. 201                                           Unliquidated
           Tampa, FL 33618                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $6,300.00
           Chicago Ridge Mall                                                          Contingent
           444 Chicago Ridge Mall                                                      Unliquidated
           Chicago Ridge, IL 60415                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $227,480.00
           First Midwest Bank                                                          Contingent
           8750 West Bryn Mawr Ave.                                                    Unliquidated
           Ste. 1300                                                                   Disputed
           Chicago, IL 60631
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $15,700.00
           First Midwest Bank                                                          Contingent
           8750 West Bryn Mawr Ave.                                                    Unliquidated
           Ste. 1300                                                                   Disputed
           Chicago, IL 60631
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 5
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 Debtor       Technoco Inc.                                                                           Case number (if known)            21-09946
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,600.00
          Fox Valley Mall                                                       Contingent
          195 Fox Valley Center Drive                                           Unliquidated
          Aurora, IL 60504                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,000.00
          Frog Funding                                                          Contingent
          2799 NW Boca Raton Blvd., Ste. 213                                    Unliquidated
          Boca Raton, FL 33431                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Greiman, Rome & Griesmeyer, LLC                                       Contingent
          205 W. Randolph St., Ste. 2300                                        Unliquidated
          Chicago, IL 60606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Ikahn Capital                                                         Contingent
          160 Pearl St, 4th Fl.                                                 Unliquidated
          New York, NY 10005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,000.00
          Joliet Mall                                                           Contingent
          3340 Mall Loop Dr.                                                    Unliquidated
          Joliet, IL 60431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96,833.00
          Kabbage                                                               Contingent
          925B Peachtree St NE                                                  Unliquidated
          Ste. 1688                                                             Disputed
          Atlanta, GA 30309
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,648.00
          Lending Point                                                         Contingent
          1701 Barrett Lakes Blvd. NW                                           Unliquidated
          Kennesaw, GA 30144                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 5
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 Debtor       Technoco Inc.                                                                           Case number (if known)            21-09946
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          LVNV Funding LLC                                                      Contingent
          55 Beattie PIace                                                      Unliquidated
          Greenville, SC 29601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,715.00
          One Main Financial                                                    Contingent
          Attn: Bankruptcy                                                      Unliquidated
          PO Box 3251                                                           Disputed
          Evansville, IN 47731
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,200.00
          Orland Square Mall                                                    Contingent
          288 Orland Square Drive                                               Unliquidated
          Orland Park, IL 60462                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $127,000.00
          Rapid Finance                                                         Contingent
          4500 E. W. Highway, 6th Fl.                                           Unliquidated
          Bethesda, MD 20814                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,000.00
          Razor                                                                 Contingent
          8000 Norman Center Dr. #350                                           Unliquidated
          Minneapolis, MN 55437                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          River Oaks Mall                                                       Contingent
          96 River Oaks Center                                                  Unliquidated
          Calumet City, IL 60409                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $165,300.00
          Small Business Administration                                         Contingent
          557 W Madison St                                                      Unliquidated
          Chicago, IL 60661                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Southlake Mall                                                       Contingent
           2109 Southlake Mall                                                  Unliquidated
           Merrillville, IN 46410                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,000.00
           Sunday Xu                                                            Contingent
           4350 Lincoln Hwy.                                                    Unliquidated
           Matteson, IL 60443                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,666.00
           US Bank                                                              Contingent
           Attn: Bankruptcy                                                     Unliquidated
           800 Nicollet Mall                                                    Disputed
           Minneapolis, MN 55402
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $20,000.00
           Velocity Capital                                                     Contingent
           460 Totten Pond Rd.                                                  Unliquidated
           Waltham, MA 02451                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        18,157.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       863,542.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          881,699.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Technoco Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         21-09946
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Mall Kiosk
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                3 months
                                                                                      Chicago Ridge Mall
             List the contract number of any                                          444 Chicago Ridge Mall
                   government contract                                                Chicago Ridge, IL 60415


 2.2.        State what the contract or                   Mall Kiosk
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4 months
                                                                                      Fox Valley Mall
             List the contract number of any                                          195 Fox Valley Center Drive
                   government contract                                                Aurora, IL 60504


 2.3.        State what the contract or                   Mall Kiosk
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                7 months
                                                                                      Joliet Mall
             List the contract number of any                                          3340 Mall Loop Dr.
                   government contract       Mall Kiosk                               Joliet, IL 60431


 2.4.        State what the contract or                   Administrative
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months
                                                                                      Main Office Technoco Inc.
             List the contract number of any                                          4350 Lincoln Hwy
                   government contract                                                Matteson, IL 60443




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Technoco Inc.                                                                       Case number (if known)   21-09946
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Mall Kiosk
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months
                                                                                      Orland Square Mall
             List the contract number of any                                          288 Orland Square Drive
                   government contract                                                Orland Park, IL 60462


 2.6.        State what the contract or                   Mall Kiosk
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months
                                                                                      River Oaks Mall
             List the contract number of any                                          96 River Oaks Center
                   government contract                                                Calumet City, IL 60409


 2.7.        State what the contract or                   Mall Kiosk
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1 month
                                                                                      Southlake Mall
             List the contract number of any                                          2109 Southlake Mall
                   government contract                                                Merrillville, IN 46410




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Technoco Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         21-09946
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                          Check all schedules
                                                                                                                                 that apply:

    2.1      Antoine Johnson                   16501 Evergreen Drive                               3 Point Capital Group            D
                                               Tinley Park, IL 60477                                                                E/F       3.1
                                                                                                                                    G




    2.2      Antoine Johnson                   16501 Evergreen Drive                               Active Screening                 D
                                               Tinley Park, IL 60477                                                                E/F       3.2
                                                                                                                                    G




    2.3      Antoine Johnson                   16501 Evergreen Drive                               First Midwest Bank               D
                                               Tinley Park, IL 60477                                                                E/F       3.4
                                                                                                                                    G




    2.4      Antoine Johnson                   16501 Evergreen Drive                               Fox Valley Mall                  D
                                               Tinley Park, IL 60477                                                                E/F       3.6
                                                                                                                                    G




    2.5      Antoine Johnson                   16501 Evergreen Drive                               Frog Funding                     D
                                               Tinley Park, IL 60477                                                                E/F       3.7
                                                                                                                                    G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 5
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 Debtor       Technoco Inc.                                                                   Case number (if known)   21-09946


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Antoine Johnson                   16501 Evergreen Drive                               Ikahn Capital                  D
                                               Tinley Park, IL 60477                                                              E/F       3.9
                                                                                                                                  G




    2.7      Antoine Johnson                   16501 Evergreen Drive                               Kabbage                        D
                                               Tinley Park, IL 60477                                                              E/F       3.11
                                                                                                                                  G




    2.8      Antoine Johnson                   16501 Evergreen Drive                               Lending Point                  D
                                               Tinley Park, IL 60477                                                              E/F       3.12
                                                                                                                                  G




    2.9      Antoine Johnson                   16501 Evergreen Drive                               LVNV Funding LLC               D
                                               Tinley Park, IL 60477                                                              E/F       3.13
                                                                                                                                  G




    2.10     Antoine Johnson                   16501 Evergreen Drive                               One Main Financial             D
                                               Tinley Park, IL 60477                                                              E/F       3.14
                                                                                                                                  G




    2.11     Antoine Johnson                   16501 Evergreen Drive                               Orland Square Mall             D
                                               Tinley Park, IL 60477                                                              E/F       3.15
                                                                                                                                  G




    2.12     Antoine Johnson                   16501 Evergreen Drive                               Rapid Finance                  D
                                               Tinley Park, IL 60477                                                              E/F       3.16
                                                                                                                                  G




    2.13     Antoine Johnson                   16501 Evergreen Drive                               Razor                          D
                                               Tinley Park, IL 60477                                                              E/F       3.17
                                                                                                                                  G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     Antoine Johnson                   16501 Evergreen Drive                               Small Business                 D
                                               Tinley Park, IL 60477                               Administration                 E/F       3.19
                                                                                                                                  G




    2.15     Antoine Johnson                   16501 Evergreen Drive                               Sunday Xu                      D
                                               Tinley Park, IL 60477                                                              E/F       3.21
                                                                                                                                  G




    2.16     Antoine Johnson                   16501 Evergreen Drive                               US Bank                        D
                                               Tinley Park, IL 60477                                                              E/F       3.22
                                                                                                                                  G




    2.17     Antoine Johnson                   16501 Evergreen Drive                               Velocity Capital               D
                                               Tinley Park, IL 60477                                                              E/F       3.23
                                                                                                                                  G




    2.18     Jeremy Lyn                        4532 S. Oakenwald Ave.                              3 Point Capital Group          D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.1
                                                                                                                                  G




    2.19     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Active Screening               D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.2
                                                                                                                                  G




    2.20     Jeremy Lyn                        4532 S. Oakenwald Ave.                              First Midwest Bank             D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.4
                                                                                                                                  G




    2.21     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Fox Valley Mall                D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.6
                                                                                                                                  G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.22     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Frog Funding                   D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.7
                                                                                                                                  G




    2.23     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Ikahn Capital                  D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.9
                                                                                                                                  G




    2.24     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Kabbage                        D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.11
                                                                                                                                  G




    2.25     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Lending Point                  D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.12
                                                                                                                                  G




    2.26     Jeremy Lyn                        4532 S. Oakenwald Ave.                              LVNV Funding LLC               D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.13
                                                                                                                                  G




    2.27     Jeremy Lyn                        4532 S. Oakenwald Ave.                              One Main Financial             D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.14
                                                                                                                                  G




    2.28     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Orland Square Mall             D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.15
                                                                                                                                  G




    2.29     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Rapid Finance                  D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.16
                                                                                                                                  G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.30     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Razor                          D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.17
                                                                                                                                  G




    2.31     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Small Business                 D
             Johnson                           Chicago, IL 60653                                   Administration                 E/F       3.19
                                                                                                                                  G




    2.32     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Sunday Xu                      D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.21
                                                                                                                                  G




    2.33     Jeremy Lyn                        4532 S. Oakenwald Ave.                              US Bank                        D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.22
                                                                                                                                  G




    2.34     Jeremy Lyn                        4532 S. Oakenwald Ave.                              Velocity Capital               D
             Johnson                           Chicago, IL 60653                                                                  E/F       3.23
                                                                                                                                  G




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